USCA4 Appeal: 22-4072   Doc: 34        Filed: 11/22/2022   Pg: 1 of 51




                                       NO. 22-4072 (L)

                   IN THE UNITED STATES COURT OF APPEALS

                              FOR THE FOURTH CIRCUIT

        UNITED STATES OF AMERICA,                       :
                                               Appellee :
                                  v.                       :
        JORGE SANCHEZ-GARCIA,                              :      No. 22-4072(L)
        VINCENTE BANALES RODRIGUEZ,                        :      No. 22-4075
        NICOLAS MORALES-GUTIERREZ,                         :      No. 22-4077
        JESUS BENITEZ PINEDA,                              :      No. 22-4078
        HECTOR TAPIA HERNANDEZ-AVILA,                      :      No. 22-4100
        MARTIN MALACARA-GUERRERO,                          :      No. 22-4107
                                              Appellants :

                    On Appeal from the United States District Court
                        For the Middle District of North Carolina

            CORRECTED CONSOLIDATED BRIEF OF APPELLANTS

        LOUIS C. ALLEN
        Federal Public Defender
        ERIC D. PLACKE
        First Assistant Federal Public Defender
        MIREILLE P. CLOUGH
        Assistant Federal Public Defender
        301 North Elm Street, Suite 410
        Greensboro, NC 27401
        (336) 333-5455
        Attorneys for Appellants
USCA4 Appeal: 22-4072         Doc: 34            Filed: 11/22/2022          Pg: 2 of 51




                                          TABLE OF CONTENTS

        TABLE OF CONTENTS ............................................................................ i

        TABLE OF AUTHORITIES .................................................................... ii

               CASES .......................................................................................... ii-iv

               STATUTES....................................................................................... iv

               RULES.............................................................................................. iv

               MISCELLANEOUS .......................................................................... v

        JURISDICTIONAL STATEMENT ........................................................... 1

        STATEMENT OF THE ISSUE ................................................................. 2

        STATEMENT OF THE CASE .................................................................. 3

        SUMMARY OF THE ARGUMENT ........................................................ 21

        ARGUMENT ........................................................................................... 24

                I. Standard of Review ................................................................. 24

                II. Argument ............................................................................... 24

        CONCLUSION ........................................................................................ 40

        REQUEST FOR ORAL ARGUMENT

        CERTIFICATE OF COMPLIANCE

        CERTIFICATE OF SERVICE


                                                             i
USCA4 Appeal: 22-4072         Doc: 34             Filed: 11/22/2022           Pg: 3 of 51




                                       TABLE OF AUTHORITIES

        Cases
        Anderson v. Pac. Coast S.S. Co., 225 U.S. 187 (1912) .................... 32, 39
        Bear Lake & River Waterworks & Irrigation. Co. v. Garlans, 164 U.S. 1
               (1896) ...................................................................................... 38, 39
        Fourco Glass Co. v. Transmirra Prods. Corp., 353 U.S. 222 (1957)..32, 39
        Harness v. Watson, 47 F.4th 296 (5th Cir. 2020) .................................. 30
        Hunter v. Underwood, 471 U.S. 222 (1985) .......................................... 25
        Keene Corp. v. United States, 508 U.S. 200 (1993) ......................... 32, 39
        La Union del Pueblo Entero v. Ross, 353 F. Supp. 3d 381 (D. Md 2018)
               ........................................................................................................ 37
        Loving v. Virginia, 388 U.S. 1 (1967) .................................................... 24
        N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204 (4th Cir. 2016) .. 34
        Oneida County v. Oneida Indian Nation of New York State, 470 U.S. 226
               (1985) ...................................................................................... 38, 39
        United States v. Barcenas-Rumualdo, ___ F.4th ___, 2022 WL 17072285
               (5th Cir. Nov. 18, 2022) ................................................................ 30
        United States v. Barrera-Vasquez, ___ F. Supp. 3d ___, 2022 WL 3006773
               (E. D. Va. July 28, 2022) ............................................................... 28
        United States v. Buculei, 262 F.3d 322 (4th Cir. 2001) ........................ 24
        United States v. Calvillo-Diaz, 2022 WL 1607525 (N. D. Ill. May 20, 2022)
               ........................................................................................................ 28




                                                              ii
USCA4 Appeal: 22-4072         Doc: 34             Filed: 11/22/2022           Pg: 4 of 51




        United States v. Carrillo-Lopez, 555 F. Supp. 3d 996 (D. Nev. 2021)
               ...................................................................... 26-28, 31, 34-36, 39, 40
        United States v. Crespo-Castelan, 2022 WL 2237574 (S.D.N.Y. June 22,
              2022) ........................................................................................ 28, 29
        United States v. Gibert, 677 F.3d 613 (4th Cir. 2012) .......................... 24
        United States v. Hernandez-Lopez, 583 F. Supp. 3d 815 (S. D. Texas 2022)
               ................................................................................................... 27-29
        United States v. Machic-Xiap, 552 F. Supp. 3d 1055 (D. Or. 2021)..28, 29
        United States v. Maldonado-Guzman, 2022 WL 2704036 (S.D.N.Y. July
              12, 2022)... ...................................................................................... 29
        United States v. Munoz-De La O, 586 F. Supp. 3d 1032 (E.D. Wash. 2022)
               .................................................................................................. 27, 28
        United States v. Novondo-Ceballos, 554 F. Supp. 3d 1114 (D. N. Mex.
              2021) .............................................................................................. 29
        United States v. Paredes-Medina, 2022 WL 7683738 (D. Nev. Oct. 13,
              2022) .............................................................................................. 29
        United States v. Ponce Calvan, 2022 WL 484990 (S. D. Cal. Feb. 16, 2022)
               ........................................................................................................ 29
        United States v. Ramirez-Aleman, 2022 WL 1271139 (S. D. Cal. Apr. 27,
              2022) .............................................................................................. 29
        United States v. Rodriguez-Arevalo, ___ F. Supp. 3d ___, 2022 WL
              1542151 (M. D. Pa. May 16, 2022) ............................................... 29
        United States v. Ryder, 110 U.S. 729 (1884) ................................... 32, 39



                                                              iii
USCA4 Appeal: 22-4072          Doc: 34             Filed: 11/22/2022           Pg: 5 of 51




        United States v. Sanchez-Felix, 2021 WL 6125407 (D. Col. Dec. 28, 2021)
                ........................................................................................................ 29
        United States v. Santos-Reynoso, 2022 WL 2274470 (S.D.N.Y. June 23,
                2022) .............................................................................................. 29
        United States v. Vera, 2022 WL 3716503 (D. N. H. Aug. 29, 2022) ...... 29
        United States v. Viveros-Chavez, 2022 WL 2116598 (N. D. Il. June 13,
                2022) .............................................................................................. 29
        United States v. Wence, 2021 WL 2463567 (D. Virgin Islands Jun. 16,
                2021) .............................................................................................. 29
        Village of Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S.
                252 (1977) .............................................. 2, 17, 18, 21-28, 37, 39, 40
        Wong Wing v. United States, 163 U.S. 228, 16 S.Ct. 977, 41 L.Ed. 140
                (1896) ...................................................................................... 26, 27
        Yick Wo v. Hopkins, 118 U.S. 356 (1886) ............................................... 24


        Statutes
        8 U.S.C. § 1326 ............................ 2-5, 14, 16, 21-29, 32, 33, 37, 39, 40-41
        18 U.S.C. § 3231 ....................................................................................... 1
        28 U.S.C. § 1291 ....................................................................................... 1


        Rules
        FED. R. APP. P. 4(b) .................................................................................. 1
        FED. R. APP. P. 11(a)(2) .......................................................................... 18



                                                               iv
USCA4 Appeal: 22-4072        Doc: 34             Filed: 11/22/2022           Pg: 6 of 51




        Miscellaneous
        U.S. Constitution, Amend. V ...................... 2, 3, 21, 22, 24, 25, 27, 28, 41
        United Statutes at Large, 82 Cong. Ch. 108, 66 Stat. 26 (March 20, 1952)
              ........................................................................................................ 35




                                                             v
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 7 of 51




                          JURISDICTIONAL STATEMENT

              This is a direct appeal by the Defendants of their federal criminal

        convictions. Jurisdiction was conferred on the United States District

        Court for the Middle District of North Carolina by 18 U.S.C. § 3231.

        Appellate jurisdiction is conferred on this Court by 28 U.S.C. § 1291.

        Jorge Sanchez-Garcia filed notice of appeal February 4, 2022, from final

        judgment entered February 2, 2022. Vincente Banales Rodriguez filed

        notice of appeal February 4, 2022, from final judgment entered February

        2, 2022. Nicolas Morales-Gutierrez filed notice of appeal February 8,

        2022, from final judgment entered February 2, 2022. Jesus Benitez

        Pineda filed notice of appeal February 8, 2022, from final judgment

        entered February 2, 2022. Hector Tapia Hernandez-Avila filed notice of

        appeal February 15, 2022, from final judgment entered February 2, 2022.

        Martin Malacara-Guerrero filed notice of appeal February 18, 2022, from

        final judgment entered February 17, 2022. FED. R. APP. P. 4(b).




                                           -1-
USCA4 Appeal: 22-4072   Doc: 34   Filed: 11/22/2022   Pg: 8 of 51




                            STATEMENT OF THE ISSUE

        Whether, under Village of Arlington Heights v. Metropolitan Housing

        Dev. Corp., 429 U.S. 252 (1977), 8 U.S.C. § 1326 violates the Equal

        Protection Clause of the Fifth Amendment to the United States

        Constitution based on the discriminatory intent of the law and its

        disparate impact on Mexican and other Latinx immigrants.




                                         -2-
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 9 of 51




                             STATEMENT OF THE CASE

              Defendants Jorge Sanchez-Garcia, Vincente Banales Rodriguez,

        Nicolas Morales-Gutierrez, Jesus Benitez Pineda, Hector Tapia

        Hernandez-Avila, and Martin Malacara-Guerrero were each indicted in

        the Middle District of North Carolina on one count of unlawful reentry

        by a previously deported alien, in violation of 8 U.S.C. § 1326. J.A. 0008,

        J.A. 1063, J.A. 1099, J.A. 1150, J.A. 1184, J.A. 1226. Each moved to

        dismiss the indictment on the ground that 8 U.S.C. § 1326 violates the

        Equal Protection Clause of the Fifth Amendment, and the District Court

        granted Defendants’ request to consolidate their cases for purposes of

        hearing the motion to dismiss. J.A. 0016.

              In support of their motion to dismiss (J.A. 0017), the Defendants

        filed a brief with 15 exhibits. J.A. 0126-0419, J.A. 0420-0876. After the

        Government filed a response in opposition (J.A. 0024), the Defendants

        filed a reply with three additional exhibits. J.A. 0051-0109. On October

        18, 2021, the District Court heard testimony from the Defendants’ expert,

        (J.A. 0882-0988) and admitted in evidence all the exhibits previously filed

        by the Defendants. J.A. 0988-0989.



                                           -3-
USCA4 Appeal: 22-4072    Doc: 34    Filed: 11/22/2022   Pg: 10 of 51




              The Defendants’ Exhibits included a declaration from Dr. Kelly

        Lytle Hernandez, Professor of History, African American Studies, and

        Urban Planning at UCLA, regarding the history of 8 U.S.C. § 1326, with

        this overview.

              In 1929, the U.S. Congress first criminalized the act of
              entering the United States without authorization, making
              entering the United States without authorization a
              misdemeanor and re-entering the United States without
              authorization after deportation a felony. Although no racial
              group was named in the 1929 legislation, racial animus
              motivated the bill’s author. Moreover, the politics of white
              supremacy dominated the politics of immigration control at
              the time. On these grounds, the individual racial animus of
              the original bill’s author and the prevailing politics of
              immigration legislation leading into and during the 1920s, the
              criminalization of unauthorized entry was a racially
              motivated act. Unsurprisingly, the new law delivered racially
              disparate outcomes.

        J.A. 0463. The Defendant’s Exhibits also included a transcript of prior

        testimony by Dr. Hernandez and Dr. Benjamin Gonzalez O’Brien,

        Associate Professor of Political Science at San Diego State University,

        regarding the history of Section 1326, and contemporaneous records

        regarding the original criminalization of unlawful reentry in 1929, and

        its recodification as 8 U.S.C. § 1326 in 1952. At the hearing on October

        18, 2021, the Defendants called Dr. Gonzalez O’Brien, whom the District

                                           -4-
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022     Pg: 11 of 51




        Court accepted, without Government objection, “as an expert in political

        science with a specific expertise in immigration policy, race, and public

        policy, with particular emphasis on past policy choices and future

        policymaking in Congress.” J.A. 0885.

              Professor Gonzalez O’Brien traced the development of United

        States immigration law and policy in the decades leading up to the

        original   criminalization of   unlawful        reentry   in     1929,   and its

        recodification as 8 U.S.C. § 1326 in 1952. He began with the report issued

        by the Dillingham Commission in 1911, which he described as “the first

        ... comprehensive examination of U.S. immigration policy.” J.A. 0886.

        While Professor Gonzalez O’Brien explained the Dillingham Commission

        report did not focus on Mexican immigration, he also highlighted what it

        did say: “The Mexican immigrants are providing a fairly acceptable

        supply of labor. While the Mexicans are not easily assimilated, this is of

        not very great importance as long as most of them return to their native

        land after a short time.” J.A. 0886-0887 (emphasis added). Dr. Gonzalez

        O’Brien testified about the impact eugenics and, in particular “Harry

        Laughlin, the head of the Eugenics Record Office,” had in Congress and

        on U.S. immigration law and policy in the 1920s. J.A. 0887. He explained
                                           -5-
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 12 of 51




        that the National Origins Act of 1924 was the first permanent

        implementation of national immigration quotas, “and those quotas were

        specifically meant to privilege Northern and Western European

        immigration.” J.A. 0891. Discussing the desire by some in Congress to

        include restrictive quotas on Mexican and other Western Hemisphere

        immigrants like the restrictive quotas on immigrants from Southern and

        Eastern Europe, he quoted Congressman Patrick O’Sullivan of

        Connecticut, “I do not know what standard is used to measure

        desirability, but I do know that the average Italian is as much superior

        to the average Mexican as a full-blooded Airedale is to a mongrel.” J.A.

        0892 (emphasis added).

              Regarding the criminalization of unlawful entry and unlawful

        reentry after deportation as part of the Undesirable Aliens Act of 1929,

        Dr. Gonzalez O’Brien explained the tension between those who

        considered Latinx people in general, and Mexicans in particular, to be

        racially inferior, and wanted to extend quotas to them, and “agricultural

        interests [who] argued … that Mexican immigration was necessary;

        otherwise, they would have to import Black labor instead.” J.A. 0896.

        Notably, the racial animus extended to people from “any country south of
                                           -6-
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 13 of 51




        the Rio Grande,” who Congressman Robert Green described as having a

        “mixture of blood of white, Indian, and Negro” and which he believed

        imposed “a very great penalty upon the society which assimilates it.” J.A.

        0896 (internal quotation marks omitted). That tension was resolved by a

        compromise – no Western Hemisphere immigration quotas and, instead,

        a robust system of deportation enforced by criminal penalties for

        unlawful entry and reentry. The compromise was acceptable to

        eugenicists such as Harry Laughlin who, as Professor Gonzalez O’Brien

        testified, said in 1928 that “deportation is the last line of defense against

        a contamination of American family stock by alien heredity degeneracy,”

        and acceptable to agribusiness which, “in congressional hearings [said]

        that deportation also allows for control of Mexican immigration, that

        essentially there is a prevention of these individuals from settling long

        term in the United States.” J.A. 0898 (emphasis added).

              The compromise became law in 1929 with passage of the

        Undesirable Aliens Act. Professor Gonzalez O’Brien described how the

        Act was “introduced by [Senator] Coleman Livingston Blease … a known

        and outspoken white supremacist,” who was a member of the Senate

        Immigration and Naturalization Committee. J.A. 0902. He explained
                                            -7-
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 14 of 51




        that “[a]t the time that the Undesirable Aliens Act was passed, the

        chairman of the Immigration and Naturalization Committee in the

        House [was] Albert Johnson, who was also a known eugenicist.” J.A.

        0902. The legislation they shepherded through Congress included, for the

        first time in the United States, criminal penalties for unlawful reentry, a

        provision “seen as needed … as a way – both trying to deter

        undocumented entry, but also a means of controlling the Mexican

        population once they’re in the United States.” J.A. 0905. The relevant

        portion of the legislation, enacted March 4, 1929, made it a felony,

        punishable by up to two years in prison and a $1000.00 fine, for a

        previously deported alien to “enter[ ] or attempt[ ] to enter the United

        States.” J.A. 0649.

              Professor Gonzalez O’Brien also testified about the “Mexican

        repatriation” of 1929 through 1936, during which an estimated “20

        percent of the Mexican population return[ed] to Mexico,” often under the

        threat of forced removal, and that many United States citizens were also

        swept up in the process. J.A. 0911. He described the different treatment

        of Canadian immigrants, a group described in 1927 by the Immigration

        Restriction League as “of racial origins similar to our own.” J.A. 0914.
                                           -8-
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022    Pg: 15 of 51




        That included the 1935 adoption of a policy that “only applied to the

        northern border” and that “essentially allowed undocumented Canadian

        immigrants to be approved for entry while they were residing in the

        United States illegally,” a benefit not available as a practical matter to

        most Mexican and other Latinx immigrants. J.A. 0914. Dr. Gonzalez

        O’Brien explained that, while originally available to anyone who could

        make their way to Canada and then enter across our northern border,

        “the intent of this [policy] is made very clear in 1945 … when Mexicans

        were explicitly excluded from those who could apply for this program of

        pre-examination. J.A. 0915. Notably, the program only “end[ed] entirely

        in 1961.” J.A. 0915.

              Professor Gonzalez O’Brien described the “Bracero Program” which

        was “first created under the Mexican Farm Labor Program [A]greement

        of 1942, … [and] then extended in 1951 with the Migrant Labor

        Agreement [A]ct” J.A. 0915-0916. He explained that the program

        provided   needed      Mexican   labor,   while     “also   …    guaranteeing

        impermanence.” J.A. 0916. “Braceros,” as the workers were known,

        “could work for six months, but then they had to go back to Mexico” before

        applying again for the program. J.A. 0916. Dr. Gonzalez O’Brien
                                            -9-
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 16 of 51




        explained the connection between the limits of the Bracero Program, and

        what was referred to at the time as the “wetback problem.” J.A. 0919.

              [T]he term "wetback" becomes popularized in … the 1940s
              and particularly is used with a fair amount of regularity by
              members of government, as well as nicknames for legislation
              and immigration enforcement programs across the 1950s.

              ...

              [T]he wetback problem, as discussed in Congress and by a
              number of academic writers across the period of the 1950s, is
              also in part born of the Bracero Program itself. The Bracero
              Program would really create this kind of two tracks for
              Mexican immigrants. There were the braceros, and there were
              the wetbacks.

              The braceros were the legal entrants of the United States
              who came in under this program, who were seen as kind of the
              disposable labor force. The wetbacks were the people who
              entered illegally, were performing similar functions to
              braceros. They were being used for their labor but were also
              being driven in part by the fact that the Bracero Program
              itself didn't have enough spots to meet the demand for labor
              in the United States. In other words, there was a demand for
              a larger labor force than the Bracero Program could bring in.

              In addition to that, a lot of employers, especially in border
              regions, preferred undocumented labor because it involved
              less red tape for them. They didn't have to provide the kind of
              minimum wage that was associated with the Bracero
              Program or any of those additional provisions, and they had a
              much more -- with undocumented immigrants, they had a
              much more controllable labor force. Those individuals,
              because of their status, were less likely to report workplace

                                           - 10 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 17 of 51




              violations or unsafe conditions or sexual harassment or
              anything – or anything else.

              But the term itself would come to be associated with a lot
              of the same eugenical thinking that we would see in the
              discussion of Mexican immigration in the 1920s: This idea
              that -- that the wetback was someone who was prone to
              criminal behavior, that they were someone who was -- that they
              were prone to illness, that they were in some way biologically
              inferior.

        J.A. 0918-0920 (emphasis added). Professor Gonzalez O’Brien explained

        that the “anti-harboring” legislation Congress passed on March 20, 1952,

        was popularly referred to as the “Wetback Bill.” J.A. 0923. For example,

        in an April 16, 1952, report on recently enacted bills, the Senate Judiciary

        Committee lists the title of S. 1851 as “Preventing illegal entry of aliens

        (wetbacks).” J.A. 0254 (emphasis added). Dr. Gonzalez O’Brien pointed

        out that the legislation included a “carve-out, though, for employers”

        which shielded them from criminal liability, and explained “this is part

        of the history of Mexican immigration in this country, where employers

        are allowed access to labor and what is seen as a disposable labor force,

        and the responsibility for the act of undocumented entry is placed on the

        immigrant themselves and is not really shared by the employer in any

        way.” J.A. 0924-0925.

                                           - 11 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 18 of 51




              The same Congress that passed the “Wetback Bill” also passed the

        “McCarran-Walter Act of 1952.” J.A. 0926. As Dr. Gonzalez O’Brien

        testified and as seen in Defendants’ Exhibit O, use of the racial slur

        “wetback” was also part of the discussion of the McCarran-Walter Act in

        both houses of Congress. J.A. 0126-0419. Senators Humphrey,

        McCarran, and Morse all made use of the term, as did Congressman

        Walter. J.A. 0134, J.A. 0143, J.A. 0164, J.A. 0245, J.A. 0247, J.A. 0248,

        J.A. 0249, J.A. 0399. Speaking in opposition to Senator McCarren’s

        suggestion that the new legislation include a provision that would

        eliminate the requirement that a person act “willfully and knowingly” in

        order to violate the recently enacted alien harboring provision of the

        “Wetback Bill,” Senator Humphrey used the term repeatedly: “Senators

        are aware of my own deep interest in the wetback provisions of our

        immigration laws. We debated the wetback problem day in and day our

        earlier in the session. Some time ago I joined the distinguished Senator

        from Illinois in an effort to tighten the wetback provisions.” J.A. 0247

        (emphasis added). Similarly, Deputy Attorney General Peyton Ford’s

        May 14, 1951, letter to Senator McCarran regarding the Department of

        Justice review of his draft bill quotes a March 26, 1951, report from the
                                          - 12 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 19 of 51




        President’s Commission on Migratory Labor that also uses the term

        “wetback.” J.A. 0091.

              Professor Gonzalez O’Brien testified that, while the McCarran-

        Walter Act “allowed Asian immigrants to come to the United States and

        to naturalize for the first time, … [i]t preserved national quotas, … [and]

        continued privileging … Northern and Western European immigration,

        although not to the same extent.” J.A. 0927. After quoting Congressman

        John Wood’s statement during debate on the McCarran-Walter Act that

        he believed “statistics would show that the Western European races have

        made the best citizens in America,” Dr. Gonzalez O’Brien explained that

        “while the language has shifted a little and these directly eugenical

        statements are [generally] no longer made, we still see in McCarran-

        Walter a bill that is meant to preserve the racial integrity of the United

        States.” J.A. 0927 (emphasis added).

              Professor Gonzalez O’Brien explained that the McCarran-Walter

        Act codified the statute at issue in this case, 8 U.S.C. § 1326, with

        “relatively minimal” change from the original 1929 criminalization of

        unlawful reentry. J.A. 0931. The only significant change was “the ‘found

        in’ language that was added into the bill,” a change suggested by Deputy
                                          - 13 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 20 of 51




        Attorney General Ford to make establishing venue easier in illegal

        reentry prosecutions. J.A. 0931. Dr. Gonzalez O’Brien also discussed the

        debate about Section 1326.

              There was no substantial debate around -- or no debate
              really around 1326 under the 1952 McCarran-Walter Act.
              After reading -- I've read through the Congressional Record. I
              have not found any instances that specifically referenced or in
              any way, shape, or form debate 1326 in the McCarran -- in the
              debate around the McCarran-Walter Act.

        J.A. 0933.

              Professor Gonzalez O’Brien testified that in his opinion 8 U.S.C. §

        1326 has had a disparate impact on Latino individuals in the United

        States, and that it was motivated by racial animus. J.A. 0981-0983.

              I do believe it was motivated by racial animus. I think this is
              reflected in the eugenesis [sic] language that was used in
              the congressional debate around the Undesirable Aliens Act;
              and I think this is further reflected in 1952 by the language
              used to describe the, quote/unquote, wetback population,
              which -- while it represented a shift in language from 1929
              where they were talking about Mexicans broadly as a group,
              this was because by the period of the 1950s the explicitly
              eugenesis [sic] language that was used in 1929 was no longer
              seen as socially acceptable considering the horrors of the
              World War and the Holocaust. So the language changes, but
              if we look at the content and the ascribed characteristics that
              are made to wetbacks in 1952 or to Mexican immigrants in
              1929, those – the content of those stereotypes is very -- is very
              similar.

                                           - 14 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 21 of 51




        J.A. 0983. He also testified that Congress has never examined the “racist

        origins of either the 1929 law or the 1952 law.” J.A. 0984.

              On cross examination, Professor Gonzalez O’Brien testified that the

        “next significant piece of … immigration legislation after 1952 … [was

        the] … Hart-Celler Act [of 1965, also] … called the Immigration and

        Nationality Act,” which ended the system of national origin quotas. J.A.

        0962. Next was “the 1986 Immigration Reform and Control Act, [which

        the witness described as] the first attempt … to … comprehensively

        address the issue of undocumented immigration” and which granted

        amnesty to two to three million undocumented Mexican immigrants. J.A.

        0969. Still on cross examination, Professor Gonzalez O’Brien also

        described the 1988 addition of subsection (b) to Section 1326, which

        provided increased penalties for unlawful reentry by aliens with certain

        prior convictions, and the 1996 Illegal Immigration Reform and

        Immigrant Responsibility Act, which also amended the penalties for

        unlawful reentry by aliens with various prior convictions. J.A. 0970-0971.

        When Government counsel asked whether there was “ever really a

        danger that 1326 was ever going to be repealed,” Dr. Gonzalez O’Brien

        said, “Well, 1326 has never really been subjected either to significant
                                          - 15 -
USCA4 Appeal: 22-4072   Doc: 34       Filed: 11/22/2022   Pg: 22 of 51




        congressional debate, nor has its deterrent effect actually been subjected

        to any examination ….” J.A. 0980-0981 (emphasis added).

              The Government did not call any witnesses, nor did it present any

        other evidence. J.A. 0989.

              After hearing argument from counsel, the District Court denied the

        motion to dismiss.

              Well, I don't know. I find it kind of hard to get my hands
              around this because there are the – you know, you do have
              overlapping constitutional considerations here. Yeah, you've
              got the Equal Protection Clause, but you also have, I think, a
              pretty strongly based deference to other branches of
              government about immigration matters just based on the
              separation of powers. And it's, I think, beyond dispute that
              folks who are not citizens have -- are entitled to equal
              protection of the law. I think that that's beyond dispute.

              But exactly what that means in this context, where
              immigration-related      statutes     are     an     exercise    in
              discrimination -- I mean, that's what they are. They
              discriminate between people who are here -- who are citizens
              and people who are not. And, you know, exactly what does
              that mean? And when you add to it the deference people
              usually give to Congress -- courts always give to Congress in
              enacting criminal statutes, it's a little hard to figure out if the
              Supreme Court actually would apply Arlington Heights in this
              situation. I don't know if they would or not, but on its face, it
              seems like it could be applied and -- if -- if the proof
              were such to meet that standard.




                                            - 16 -
USCA4 Appeal: 22-4072   Doc: 34       Filed: 11/22/2022   Pg: 23 of 51




              And, you know, I'm kind of willing to give you 1929 in terms
              of some underlying racist motivations being one of the factors
              there; but, you know, when you get much past that, I
              think it's a much dicier proposition. And historical context
              under Arlington Heights, I don't think I really buy the idea
              that it's just what happened when it was enacted when you
              have a situation where it was reenacted in 1952, much weaker
              evidence of racism towards Mexicans or Hispanics or Latinx,
              however you want to phrase the group that
              we're talking about here, you know, an antiracist component
              to it in terms of Asian Americans, and no quotas imposed for
              people in the Western Hemisphere. So it just seems much,
              much weaker.

              And then you have repeated congressional reenactments well
              into the modern era, which demonstrate a continued
              commitment to the deterrent effect of criminal punishment
              for this kind of conduct and -- and to the protection of the
              public as – which I think you see with the -- you know, well, if
              you keep coming back, the only way to protect the public is --
              or you come back after you've committed crimes, then we have
              to protect the public by separating you; and if we can't
              separate you by removing you, we will separate you by
              incarceration. And, you know, those are legitimate policy
              decisions.

              So it's pretty tough for me to -- to say that when I look at the
              entire historical context that the Act, you know, before me
              now continues to be motivated by racial animus. I don't think
              I can find that. I do not find that. And, you know,
              whether it was or wasn't in 1929 -- you know, yeah, it probably
              was a motivating factor of many folks in Congress, but that --
              that doesn't seem to be the end of the inquiry to me.

              So I'm having a little trouble figuring out exactly how I
              would exactly state this test, but if there -- if the rational
              basis test applies, it passes. There's a rational basis for
                                            - 17 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 24 of 51




              this statute based on public safety and deterrence and control
              of the borders, if nothing else.

              If it -- even if Arlington Heights applies and even if one
              assumes racial animus in 1929, I'm not satisfied that it
              continues -- that it continued into 1952 and beyond. The
              evidence past 1929 seems to indicate to me that the racial
              animus -- I don't know that it dissolved or completely went
              away, but other factors overcame it, and there's been plenty
              of evidence about that in terms of economic factors, the labor
              market factors, national security factors, et cetera. So I'm
              going to deny the defendants' motion, subject, obviously, to
              reconsideration if the Fourth Circuit tells me otherwise before
              -- before sentencing.

        J.A. 1041-1044. Thereafter, each Defendant entered a conditional plea of

        guilty pursuant to Fed. R. Crim. P. 11(a)(2). J.A. 0116, J.A. 1071, J.A.

        1123, J.A. 1158, J.A. 1199, J.A. 1236.

              The District Court sentenced Sanchez-Garcia to six months of

        imprisonment, consecutive to any state sentence up to 13 months and

        concurrent thereafter, one year of supervised release, and waived the

        special assessment. J.A. 1047. Written judgment was entered February

        2, 2022. J.A. 1047. The Defendant filed a timely notice appeal on

        February 4, 2022. J.A. 1054.

              The District Court sentenced Vincente Banales Rodriguez to 36

        months of imprisonment, consecutive to his state sentence, three years of

                                           - 18 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 25 of 51




        supervised release, and a $100 special assessment. J.A. 1081. Written

        judgment was entered February 2, 2022. J.A. 1081. The Defendant filed

        a timely notice of appeal on February 4, 2022. J.A. 1088.

              The District Court sentenced Nicolas Morales-Gutierrez to 37

        months of imprisonment, 12 months concurrent with his state sentence

        and 25 months consecutive, three years of supervised release, and a $100

        special assessment. J.A. 1133. Written judgment was entered February

        2, 2022. J.A. 1133. The Defendant filed a timely notice of appeal on

        February 8, 2022. J.A. 1140.

              The District Court sentenced Jesus Benitez-Pineda to 15 months of

        imprisonment, concurrent with any state sentence, three years of

        supervised release, and waived the special assessment. J.A. 1167.

        Written judgment was entered February 2, 2022. J.A. 1167. The

        Defendant filed a timely notice of appeal on February 8, 2022. J.A. 1174.

              The District Court sentenced Hector Tapia Hernandez-Avila to

        eight months of imprisonment, one year of supervised release, and

        waived the special assessment. J.A. 1209. Written judgment was entered

        February 2, 2022. J.A. 1209. The Defendant filed a timely notice of appeal

        on February 15, 2022. J.A. 1216.
                                           - 19 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 26 of 51




              The District Court sentenced Martin Malacara-Guerrero to 24

        months of imprisonment, consecutive to his state sentence, one year of

        supervised release, and a $100 special assessment. J.A. 1246. Written

        judgment was entered February 17, 2022. J.A. 1246. The Defendant filed

        a timely notice of appeal on February 18, 2022. J.A. 1253.




                                          - 20 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 27 of 51




                          SUMMARY OF THE ARGUMENT

              The Defendants contend that, under Village of Arlington Heights v.

        Metropolitan Housing Dev. Corp., 429 U.S. 252 (1977), 8 U.S.C. § 1326

        violates the Equal Protection Clause of the Fifth Amendment to the

        United States Constitution based on the discriminatory intent of the law

        and its disparate impact on Mexican and other Latinx immigrants. The

        original criminalization of unlawful reentry after deportation in the

        Undesirable Aliens Act of 1929 took place when American immigration

        law and policy were greatly influenced by the overt racism of eugenics

        and a misguided desire to maintain the “racial purity” of the largely

        Northern and Western European white population of the United States.

        The 1929 statute was motivated by discriminatory intent against

        Mexican and other Latinx immigrants, with the dual racist purposes of

        ensuring a steady supply of racially identifiable, low wage, easily

        exploited manual labor while preventing those same people from settling

        in the United States.

              The McCarran-Walter Act of 1952 recodified the original 1929

        statute as 8 U.S.C. § 1326 without any significant substantive change

        other than adding a “found in” provision that made it easier to establish
                                          - 21 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 28 of 51




        venue and thus easier to prosecute unlawful reentry after deportation.

        The same Congress had, only months before, passed the so-called

        “Wetback Bill,” and its consideration and debate of McCarran-Walter

        was likewise littered with racial slurs. The 1952 Congress made no

        attempt to mitigate the disparate impact on Mexican and other Latinx

        immigrants, or to even address, much less repudiate, the criminal

        reentry statute’s overtly racist origins.

              Subsequent amendments to Section 1326 have increased the

        penalties for certain violations without ever reassessing, much less

        changing, the substance of the statute first enacted in 1929. Congress has

        never grappled with, much less repudiated, the overt racial animus and

        discriminatory intent that motivated and still infects the criminalization

        of unlawful reentry after deportation.

              The Defendants presented unrebutted evidence from recognized

        experts regarding the discriminatory intent and disparate impact of

        Section 1326, corroborated by extensive contemporaneous Congressional

        records. The Defendants more than met their burden under Arlington

        Heights and the Government, which offered no evidence, completely

        failed to meet its burden to prove that the statute would have been
                                           - 22 -
USCA4 Appeal: 22-4072   Doc: 34    Filed: 11/22/2022   Pg: 29 of 51




        enacted absent the discriminatory intent.




                                         - 23 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 30 of 51




                                      ARGUMENT

        Under Village of Arlington Heights v. Metropolitan Housing Dev.
        Corp., 429 U.S. 252 (1977), 8 U.S.C. § 1326 violates the Equal
        Protection Clause of the Fifth Amendment to the United States
        Constitution based on the discriminatory intent of the law and
        its disparate impact on Mexican and other Latinx immigrants.

        I.    Standard of Review

              This Court “review[s] de novo a challenge to the constitutionality of

        a federal statute.” United States v. Gibert, 677 F.3d 613, 618 (4th Cir.

        2012) (citing United States v. Buculei, 262 F.3d 322, 327 (4th Cir. 2001)).

        II.   Argument

              Under Village of Arlington Heights v. Metropolitan Housing Dev.

        Corp., 429 U.S. 252 (1977), 8 U.S.C. § 1326 violates the Equal Protection

        Clause of the Fifth Amendment to the United States Constitution based

        on the discriminatory intent of the law and its disparate impact on

        Mexican and other Latinx immigrants.

              A law can violate equal protection in three ways. First, a law can

        discriminate on its face. See, e.g., Loving v. Virginia, 388 U.S. 1 (1967).

        Second, authorities can apply a facially neutral law in a discriminatory

        way. See, e.g., Yick Wo v. Hopkins, 118 U.S. 356 (1886). Third, a

        legislature can enact a facially neutral law with discriminatory purpose,
                                           - 24 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 31 of 51




        which disparately impacts a disfavored group. Arlington Heights, 429

        U.S. at 265–68. Under Arlington Heights, once the challenger shows that

        discriminatory purpose was a “motivating factor,” the burden shifts to

        the law’s defender to show that “the same decision would have resulted

        even had the impermissible purpose not been considered.” Arlington

        Heights, 429 U.S. at 270 n.21. See also Hunter v. Underwood, 471 U.S.

        222, 228 (1985) (if racial discrimination was a motivating factor, “the

        burden shifts to the law’s defenders to demonstrate that the law would

        have been enacted without this factor.”). If the Government cannot show

        the legislature would have enacted the offending law in the “absence of

        the racially discriminatory motivation,” the law violates the Fifth

        Amendment and must be invalidated. Id. at 225.

             The Defendants challenged 8 U.S.C. § 1326 under Arlington

        Heights, and the District Court responded, “I'm kind of willing to give you

        1929 in terms of some underlying racist motivations being one of the

        factors there; but, you know, when you get much past that, I think it's a

        much dicier proposition.” J.A. 1042. Given the robust and entirely

        unrebutted evidence marshalled by the Defendants, the District Court’s

        concession is sound. However, the District Court denied the Defendants’
                                         - 25 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 32 of 51




        motion to dismiss on the ground that it did not believe “the Act, … now

        continues to be motivated by racial animus. I don't think I can find that.

        I do not find that. And, you know, whether it was or wasn't in 1929 -- you

        know, yeah, it probably was a motivating factor of many folks in

        Congress, but that -- that doesn't seem to be the end of the inquiry to me.”

        J.A. 1043 (emphasis added).

             Based on the same historical record, Chief Judge Du of the District

        of Nevada applied Arlington Heights and found that 8 U.S.C. § 1326

        violated the Fifth Amendment’s equal protection clause. United States v.

        Carrillo-Lopez, 555 F. Supp. 3d 996 (D. Nev. 2021). Rejecting the

        Government’s argument that “Congress’ plenary power over immigration

        subjects immigration laws such as Section 1326 to a highly deferential

        standard of review,” Chief Judge Du ruled that “greater protections

        under the Fifth Amendment necessarily apply when the government

        seeks to ‘punish[ ] by deprivation of liberty and property.’” Id. at 1001

        (quoting Wong Wing v. United States, 163 U.S. 228, 237, 16 S.Ct. 977, 41

        L.Ed. 140 (1896)). Chief Judge Du found “that Section 1326 does indeed

        disparately impact Mexican and Latinx individuals,” and that the

        historical evidence “was sufficient for Carrillo-Lopez to meet his burden
                                          - 26 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 33 of 51




        that discriminatory intent was a motivating factor of both the 1929 and

        1952 enactments.” Id. at 1005. Chief Judge Du found that “under

        Arlington Heights, the burden shifts to the government to prove that the

        statute would have passed even if the impermissible purpose had not

        been considered,” and that the “government fail[ed] to provide sufficient

        evidence to meet its burden.” Id.

             In addition to Chief Judge Du in Carrillo-Lopez, and the District

        Court here, other courts have also concluded that Arlington Heights

        applies, and that discriminatory intent was a motivating factor when

        Congress first criminalized unlawful reentry in 1929.

              The Court has little trouble concluding that the Fifth
              Amendment applies to § 1326, and that if this law were
              enacted with a racially discriminatory motive, it would be
              subject to heightened scrutiny. This approach accords with
              that of several other district courts that have considered this
              same challenge to § 1326. See United States v. Munoz-De La
              O, 2022 WL 508892 (E.D. Wash. 2022) (considering challenge
              to § 1326 under Arlington Heights, but denying motion to
              dismiss indictment); United States v. Hernandez-Lopez, –––
              F. Supp. 3d ––––, 2022 WL 313774 (S.D. Tex. 2022)
              (applying Arlington Heights without analyzing whether
              plenary power doctrine dictates rational basis review).

              Many district courts that have considered the issue have
              acknowledged the ugly history behind the 1929 law.
              See United States v. Hernandez-Lopez, 2022 WL 313774 * 2

                                            - 27 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 34 of 51




              (gathering cases). Suffice it to say that the history of the 1929
              enactment reflects a shameful chapter in America's past, one
              in which Congress considered “The Eugenical Aspects of
              Deportation”10 and in which members of Congress decried
              that Mexicans were “poisoning the American citizen ... from a
              moral standpoint,” and referred to migrants as “Mexican
              peons” whose blood was mixed with “low-grade
              Indians.” Racism “permeated the official congressional
              debate,” Machic-Xiap, 552 F. Supp. 3d. at 1061, and the Court
              acknowledges that other district courts have had little trouble
              ascribing discriminatory intent to Congress with respect to
              the 1929 UAA. See Hernandez-Lopez, 2022 WL 313774 *2
              (gathering cases and observing that “[a]ll have acknowledged
              the racial animus behind the 1929 law.”).

        United States v. Calvillo-Diaz, No. 2022 WL 1607525, at *4 (N.D. Ill. May

        20, 2022) (footnote omitted). Nevertheless, it does not appear that any

        other district court has reached the same result as Carrillo-Lopez and

        granted a motion to dismiss. See, e.g., United States v. Barrera-Vasquez,

        ___ F. Supp. 3d ___, 2022 WL 3006773 (E. D. Va. July 28, 2022); United

        States v. Calvillo-Diaz, 2022 WL 1607525 (N. D. Ill. May 20, 2022);

        United States v. Crespo-Castelan, 2022 WL 2237574 (S.D.N.Y. June 22,

        2022); United States v. Hernandez-Lopez, 583 F. Supp. 3d 815 (S. D.

        Texas 2022); United States v. Machic-Xiap, 552 F. Supp. 3d 1055 (D. Or.

        2021); United States v. Maldonado-Guzman, 2022 WL 2704036 (S.D.N.Y.

        July 12, 2022); United States v. Munoz-De La O, 586 F. Supp 3d 1032 (E.

                                           - 28 -
USCA4 Appeal: 22-4072   Doc: 34    Filed: 11/22/2022   Pg: 35 of 51




        D. Wash. 2022); United States v. Novondo-Ceballos, 554 F. Supp. 3d 1114

        (D. N. Mex. 2021); United States v. Paredes-Medina, 2022 WL 7683738

        (D. Nev. Oct. 13, 2022); United States v. Ponce Calvan, 2022 WL 484990

        (S. D. Cal. Feb. 16, 2022); United States v. Ramirez-Aleman, 2022 WL

        1271139 (S. D. Cal. Apr. 27, 2022); United States v. Rodriguez-Arevalo,

        ___ F. Supp. 3d ___, 2022 WL 1542151 (M. D. Pa. May 16, 2022); United

        States v. Sanchez-Felix, 2021 WL 6125407 (D. Col. Dec. 28, 2021); United

        States v. Santos-Reynoso, 2022 WL 2274470 (S.D.N.Y. June 23, 2022);

        United States v. Vera, 2022 WL 3716503 (D. N. H. Aug. 29, 2022); United

        States v. Viveros-Chavez, 2022 WL 2116598 (N. D. Il. June 13, 2022);

        United States v. Wence, 2021 WL 2463567 (D. Virgin Islands June 16,

        2021). For many, like the District Court here, the key was whether

        subsequent Congressional recodification and amendment of Section 1326

        sufficiently purged the unlawful taint of the original discriminatory

        intent. The Defendants contend they did not.

              The Defendants recognize that, three days ago, a divided panel of

        the Fifth Circuit rejected an equal protection challenge to the

        constitutionality of 8 U.S.C § 1326. United States v. Barcenas-Rumualdo,

        ___ F.4th ___, 2022 WL 17072285 (5th Cir. Nov. 18, 2022). Relying on
                                         - 29 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 36 of 51




        Fifth Circuit precedent, it did so without considering the overwhelming

        evidence of the role racial animus played in the enactment of the original

        1929 statute – racial animus Congress has neither grappled with nor

        rejected. 2022 WL 17072285, * 4 (citing Harness v. Watson, 47 F.4th 296

        (5th Cir. 2020). However, Harness itself was the decision of a deeply

        divided en banc court that relied on state law to conclude “that the

        current version of Section 241 [of the Mississippi constitution] superseded

        the previous provisions and removed the discriminatory taint associated

        with the provision adopted in 1890.” 47 F.4th at 311 (emphasis added).

        This Court is not bound by Barcenas-Rumualdo, nor is it constrained by

        the Fifth Circuit’s view of what evidence to consider.

              Arguably, the absence of any repudiation of the racial animus that

        led to the original criminalization of reentry in 1929 alone suffices to

        satisfy the Defendants’ burden of demonstrating the 1952 recodification

        was still motivated by discriminatory intent. Carrillo-Lopez, 555 F. Supp.

        3d at 1010 (“While the Court might be persuaded that the 1952 Congress’

        silence alone is evidence of a failure to repudiate a racially discriminatory

        taint, the Court need not decide that issue.”). Likewise, this Court “need

        not decide that issue,” because there is substantial and unrebutted
                                           - 30 -
USCA4 Appeal: 22-4072     Doc: 34          Filed: 11/22/2022   Pg: 37 of 51




        evidence   that     the     1952     recodification    was    still   motivated   by

        discriminatory intent. Id.

              The 1952 Congress began with a simple proposal to recodify the

        1929 criminal reentry statute. “The provisions relating to reentry after

        deportation should be carried forward in one section and apply to any

        alien deported for any reason and provide for the same penalty.” J.A.

        0109 (Report: The Immigration and Naturalization Systems of the

        United States, Senate Committee on the Judiciary, S. Rep. No. 1515, 81st

        Cong., 2d Sess. (1950)). In the end, the only substantive change in the

        criminal reentry provision itself, adding “found in” as suggested by

        Deputy Attorney General Ford, was done for the explicit purpose of

        making illegal reentry easier to prosecute. J.A. 0931.

              Even in the absence of continued racial animus, that simple

        recodification alone would not purge the criminal reentry statute of the

        discriminatory purpose behind its original enactment. United States v.

        Ryder, 110 U.S. 729 (1884) (“It will not be inferred that the legislature,

        in revising and consolidating the laws, intended to change their policy,

        unless such intention be clearly expressed.”); Keene Corp. v. United

        States, 508 U.S. 200, 209 (1993) (“[W]e do not presume that the revision
                                                 - 31 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 38 of 51




        worked a change in the underlying substantive law ‘unless an intent to

        make such [a] chang[e] is clearly expressed.’”) (quoting Fourco Glass Co.

        v. Transmirra Prods. Corp., 353 U.S. 222, 227 (1957)); Anderson v. Pac.

        Coast S.S. Co., 225 U.S. 187, 198-99 (1912) (“[I]t will not be inferred that

        Congress, in revising and consolidating the laws, intended to change

        their effect unless such intention is clearly expressed.”). There was no

        such clear expression of Congressional intent in 1952. Rather, as Dr.

        Gonzalez O’Brien testified, “There was no substantial debate around -- or

        no debate really around 1326 under the 1952 McCarran-Walter Act. After

        reading -- I've read through the Congressional Record. I have not found

        any instances that specifically referenced or in any way, shape, or form

        debate 1326 in the McCarran -- in the debate around the McCarran-

        Walter Act.” J.A. 0933.

              Not only did the 1952 Congress demonstrate no intention, much

        less an express intention, to repudiate the statute’s racist origins, it made

        no effort to mitigate the disparate impact of the statute it was simply

        recodifying and making easier to enforce, despite 23 years of disparate

        impact evidence.

                With stunning precision, the criminalization of unlawful
                                           - 32 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 39 of 51




                entry caged thousands of Mexico’s proverbial birds of
                passage. Within one year of enforcement, U.S. attorneys
                prosecuted 7,001 cases of unlawful entry. By 1939, they
                had prosecuted more than 44,000 cases.

                In no year did the U.S. attorneys’ conviction rate fall
                below 93 percent of all immigration cases. Taking custody
                of individuals convicted on federal immigration charges,
                the U.S. Bureau of Prisons reported that Mexicans never
                comprised less than 84.6 percent of all imprisoned
                immigrants. Some years, Mexicans comprised 99 percent
                of immigration offenders. Therefore, by the end of the
                1930s, tens of thousands of Mexicans had been arrested,
                charged, prosecuted, and imprisoned for unlawfully
                entering the United States. With 71 percent of all
                Mexican federal prisoners charged with immigration
                crimes, no other federal legislation—not prohibition, not
                drug laws, and neither laws against prostitution nor the
                Mann act—sent more Mexicans to federal prison during
                those years.

                Clearly, the archival record marks the criminalization of
                unauthorized entry as a racially motivated act that
                quickly delivered racially disparate outcomes.

        J.A. 0469-0470 (Declaration of Professor Hernandez at 7-8). “Congress’

        silence about the prior racist iterations of this bill coupled with its

        decision to expand the grounds for deportation and carceral punishment,

        despite its knowledge of the disparate impact of this provision on Mexican

        and Latinx people, is some evidence that racial animus was a motivating

        factor.” Carrillo-Lopez, 555 F. Supp. 3d at 1016-17 (emphasis added).

                                          - 33 -
USCA4 Appeal: 22-4072   Doc: 34       Filed: 11/22/2022   Pg: 40 of 51




        Likewise, this Court has recognized, “[d]iscriminatory purpose ‘may often

        be inferred from the totality of the relevant facts, including the fact, if it

        is true, that the law bears more heavily on one race than another.” North

        Carolina State Conf. of NAACP v. McCrory, 831 F.3d 204, 220 (4th Cir.

        2016).

              Moreover, while the 1952 Congress made no effort to repudiate the

        racist origins, or mitigate the disparate impact, of the statute it was

        simply recodifying and making easier to enforce, it also made no effort to

        insulate that work from the racist atmosphere of the time.

              The Court further considers the passage of the so-called
              “Wetback Bill” as evidence of historical background. The bill's
              passage is particularly probative because it was “passed by
              the same congress during the same time frame and with the
              same express aim as illegal reentry ...” … Senate Bill 1851,
              nicknamed the “Wetback Bill,” was passed March 20, 1952,
              just a few months before the INA. See United Statutes at
              Large, 82 Cong. ch. 108, 66 Stat. 26 (March 20, 1952). The
              bill's stated aim was to “assist in preventing aliens from
              entering or remaining in the United States illegally.” Id. Yet,
              as Carrillo-Lopez argues, the bill was reflective of Congress’
              racially discriminatory motivations, not only because of the
              nickname of the bill but also by the way it sought to achieve
              its stated aim.

              First, the Wetback Bill evidences discriminatory motive
              simply in its use of the racial epithet “wetback.” As Professor
              Gonzalez O'Brien testified: “In 1952, prior to the passage of
              the McCarran-Walter Act, you have a Bill that is introduced
                                            - 34 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 41 of 51




              and passed on March 20th that is nicknamed the Wetback
              Bill. And this is a piece of anti-harboring legislature where,
              throughout the debate, Mexican undocumented entrants are
              regularly referenced as wetbacks. And Senator McFarland [of
              Arizona], during the debate over the Act of March 20th, 1952,
              notes that Senate Bill 1851, a Bill known as the Wetback Bill,
              was going to be debated. Initially, this legislation was aimed
              strictly at Mexicans.”

              Aside from the use of derogatory language, the incongruities
              between the stated intent of the bill and the actual language
              of the bill demonstrate the Congress’ racist motives and
              intent. While the stated aim of the bill was to prevent “aliens
              from entering or remaining in the United States illegally”, …
              it actually “illustrates the intent of congress to preserve the
              influx of cheap and exploitable labor, while simultaneously
              marginalizing those workers and excluding them from full
              participation in American life.” … By failing to punish
              employers who hired illegal immigrants and instead only
              punishing the laborers themselves, the “1952 and 1929
              congresses were both balancing the hunger of the agricultural
              industry for exploitable labor and the desire to keep America's
              identity white.”

        Carrillo-Lopez, 555 F. Supp. 3d at 1015 (record citations omitted). As

        shown by the evidence the Defendants in this case presented, that same

        racist atmosphere, and casual use of the derogatory, racist term

        “wetback,” also permeated debate on the McCarran-Walter Act. Senators

        Humphrey, McCarran, and Morse all made use of the term, as did

        Congressman Walter. J.A. 0134, J.A. 0143, J.A. 0164, J.A. 0245, J.A.

        0247, J.A. 0248, J.A. 0249, J.A. 0399. Even when speaking in opposition
                                           - 35 -
USCA4 Appeal: 22-4072    Doc: 34       Filed: 11/22/2022     Pg: 42 of 51




        to Senator McCarren’s suggestion that the new legislation include a

        provision that would eliminate the requirement that a person act

        “willfully and knowingly” in order to violate the recently enacted alien

        harboring provision of the “Wetback Bill,” Senator Humphrey used the

        term repeatedly: “Senators are aware of my own deep interest in the

        wetback provisions of our immigration laws. We debated the wetback

        problem day in and day our earlier in the session. Some time ago I joined

        the distinguished Senator from Illinois in an effort to tighten the wetback

        provisions.” J.A. 0247 (emphasis added). “[W]hile the use of racial slurs,

        epithets,   or   other     derogatory     language     does    not   alone   prove

        discriminatory intent, it is evidence that official action may be motivated

        by such an unlawful purpose.” La Union del Pueblo Entero v. Ross, 353

        F. Supp. 3d 381, 395 (D. Md. 2018).

              The Government argued, and more importantly the District Court

        accepted the notion, that Congress’ minor changes to Section 1326 over

        the years erase the earlier discrimination.

              So it's pretty tough for me to -- to say that when I look at the
              entire historical context that the Act, you know, before me
              now continues to be motivated by racial animus. I don't think
              I can find that. I do not find that. And, you know,

                                                - 36 -
USCA4 Appeal: 22-4072   Doc: 34       Filed: 11/22/2022   Pg: 43 of 51




              whether it was or wasn't in 1929 -- you know, yeah, it probably
              was a motivating factor of many folks in Congress, but that --
              that doesn't seem to be the end of the inquiry to me.
              ...

              If it -- even if Arlington Heights applies and even if one
              assumes racial animus in 1929, I'm not satisfied that it
              continues -- that it continued into 1952 and beyond. The
              evidence past 1929 seems to indicate to me that the racial
              animus -- I don't know that it dissolved or completely went
              away, but other factors overcame it, and there's been plenty of
              evidence about that in terms of economic factors, the labor
              market factors, national security factors, et cetera. So I'm going
              to deny the defendants' motion, subject, obviously, to
              reconsideration if the Fourth Circuit tells me otherwise before
              -- before sentencing.

        J.A. 1041-1044. However, as the Supreme Court recognized more than a

        century ago in Bear Lake & River Waterworks & Irrigation. Co. v.

        Garland, 164 U.S. 1 (1896), even a statutory repeal and recodification

        has no impact if the substantive provisions remain the same:

                Upon comparing the two acts of 1888 and 1890 together,
                it is seen that they both legislate upon the same subject,
                and in many cases the provisions of the two statutes are
                similar, and almost identical. Although there is a formal
                repeal of the old by the new statute, still there never has
                been a moment of time since the passage of the act of 1888
                when these similar provisions have not been in force.

                Notwithstanding, therefore, this formal repeal, it is, as
                we think, entirely correct to say that the new act should
                be construed as a continuation of the old with the
                modification contained in the new act.
                                            - 37 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 44 of 51




        164 U.S. at 11-12. Ninety years later, in Oneida County v. Oneida Indian

        Nation of New York State, 470 U.S. 226, 245-46 & n.18 (1985), the

        Supreme Court articulated the same standard, citing the same cases,

        when interpreting the federal Nonintercourse Act. The rule is not that

        any reenactment or repeal changes the meaning or legislative intent of a

        prior law. The nature of any changes to the text are key. Where, as here,

        the law continues with only minor changes that make the original 1929

        criminalization of unlawful reentry easier to enforce, or increase the

        penalties for violations, there can be no presumption that the

        legislature’s intent was abrogated. The District Court’s conclusion to the

        contrary cannot be squared with the previously discussed Supreme Court

        decisions in Ryder, Keene, Fourco Glass or Anderson, nor can it be

        reconciled with Bear Lake or Oneida County.

              Based on the same historical record presented to the District Court

        in this case, Chief Judge Du concluded:

              The totality of evidence shows that the same factors
              motivating the passage of Section 1326 in 1929 were present
              in 1952. Not only did Congress fail to repudiate the racial
              animus clearly present in 1929, but it expanded the
              government's power to enforce unlawful reentry, despite
              President Truman's call to reimagine immigration laws. The
                                          - 38 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 45 of 51




              1952 Congress incorporated the advice of supporters of the bill
              who used racial epithets in official documents, while
              contemporaneously passing another bill targeting “wetbacks.”
              Although it is “not easy” to prove that racism motivated the
              passage of a particular statute, the Court reasons that it
              cannot be impossible, or Arlington Heights would stand for
              nothing.

        Carrillo-Lopez, 555 F. Supp. 3d at 1017. That court likewise rejected the

        Government’s attempts to salvage Section 1326 with alternative

        justifications, as well as its argument “that it met its burden under the

        second prong of Arlington Heights” based on subsequent amendments to

        the statute. Id. at 1025. As Chief Judge Du noted, “Section 1326’s

        reenactment and subsequent amendments never substantively altered

        the original provision, [and] do not reflect any change of Congressional

        intent policy or reasoning.” Id. at 1026 (emphasis added). Likewise, the

        court noted, “there has been no attempt at any point to grapple with the

        racist history of Section 1326 or remove its influence on the legislation.

        Id. This Court should, on de novo review, reach the same conclusions and

        result as Carrillo-Lopez. The Defendants more than met their burden

        under Arlington Heights and the Government, which offered no evidence,

        completely failed to meet its burden to prove that the statute would have

        been enacted absent the discriminatory intent.

                                           - 39 -
USCA4 Appeal: 22-4072   Doc: 34     Filed: 11/22/2022   Pg: 46 of 51




                                    CONCLUSION

              Under Village of Arlington Heights v. Metropolitan Housing Dev.

        Corp., 429 U.S. 252 (1977), 8 U.S.C. § 1326 violates the Equal Protection

        Clause of the Fifth Amendment to the United States Constitution based

        on the discriminatory intent of the law and its disparate impact on

        Mexican and other Latinx immigrants. Accordingly, this Court should

        vacate the judgement of the District Court in each Defendant’s case and

        order the dismissal of the indictments against them.




                                          - 40 -
USCA4 Appeal: 22-4072   Doc: 34    Filed: 11/22/2022   Pg: 47 of 51




              Respectfully submitted, this the 22nd day of November 2022.

                                   LOUIS C. ALLEN
                                   Federal Public Defender

                                   /s/ Eric D. Placke
                                   ERIC D. PLACKE
                                   First Assistant Federal Public Defender
                                   AR State Bar. No. 86207
                                   NC State Bar No. 20671
                                   301 N. Elm Street, Suite 410
                                   Greensboro, NC 27401
                                   (336) 333-5455
                                   Eric_Placke@fd.org

                                   /s/ Mireille P. Clough
                                   MIREILLE P. CLOUGH
                                   Assistant Federal Public Defender
                                   NC State Bar No. 28473
                                   301 N. Elm Street, Suite 410
                                   Greensboro, NC 27401
                                   (336) 333-5455
                                   Mireille_P_Clough@fd.org




                                         - 41 -
USCA4 Appeal: 22-4072   Doc: 34      Filed: 11/22/2022   Pg: 48 of 51




                         REQUEST FOR ORAL ARGUMENT

              The constitutionality of 8 U.S.C. § 1326 under Village of Arlington

        Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252 (1977), which

        has not yet been addressed by this Court, is an issue of unusual

        importance with potential widespread impact. Oral argument will aid

        this Court in its decisional process and is particularly appropriate in light

        of the issue presented. Accordingly, the Defendants request that this

        matter be set for oral argument.




                                           - 42 -
USCA4 Appeal: 22-4072         Doc: 34          Filed: 11/22/2022       Pg: 49 of 51


                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT


      No. ____________
           22-4072(L)          Caption: __________________________________________________
                                        United States of America v. Jorge Sanchez-Garcia

                     CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT
                    Type-Volume Limit, Typeface Requirements, and Type-Style Requirements

       Type-Volume Limit for Briefs if Produced Using a Computer: Appellant’s Opening Brief,
       Appellee’s Response Brief, and Appellant’s Response/Reply Brief may not exceed 13,000 words or 1,300
       lines. Appellee’s Opening/Response Brief may not exceed 15,300 words or 1,500 lines. A Reply or
       Amicus Brief may not exceed 6,500 words or 650 lines. Amicus Brief in support of an Opening/Response
       Brief may not exceed 7,650 words. Amicus Brief filed during consideration of petition for rehearing may
       not exceed 2,600 words. Counsel may rely on the word or line count of the word processing program used
       to prepare the document. The word-processing program must be set to include headings, footnotes, and
       quotes in the count. Line count is used only with monospaced type. See Fed. R. App. P. 28.1(e), 29(a)(5),
       32(a)(7)(B) & 32(f).

       Type-Volume Limit for Other Documents if Produced Using a Computer: Petition for permission to
       appeal and a motion or response thereto may not exceed 5,200 words. Reply to a motion may not exceed
       2,600 words. Petition for writ of mandamus or prohibition or other extraordinary writ may not exceed
       7,800 words. Petition for rehearing or rehearing en banc may not exceed 3,900 words. Fed. R. App. P.
       5(c)(1), 21(d), 27(d)(2), 35(b)(2) & 40(b)(1).

       Typeface and Type Style Requirements: A proportionally spaced typeface (such as Times New Roman)
       must include serifs and must be 14-point or larger. A monospaced typeface (such as Courier New) must
       be 12-point or larger (at least 10½ characters per inch). Fed. R. App. P. 32(a)(5), 32(a)(6).

      This brief or other document complies with type-volume limits because, excluding the parts of the document
      exempted by Fed. R. App. R. 32(f) (cover page, disclosure statement, table of contents, table of citations,
      statement regarding oral argument, signature block, certificates of counsel, addendum, attachments):

             [✔]    this brief or other document contains     8,140         [state number of] words

             [ ]    this brief uses monospaced type and contains                   [state number of] lines

      This brief or other document complies with the typeface and type style requirements because:

             [✔]    this brief or other document has been prepared in a proportionally spaced typeface using
                   MS Word 0365                         [identify word processing program] in
                     14 point Century Schoolbook        [identify font size and type style]; or

             [ ]    this brief or other document has been prepared in a monospaced typeface using
                                                       [identify word processing program] in
                                                       [identify font size and type style].

      (s) Eric D. Placke

      Party Name Jorge Sanchez-Garcia

      Dated: 11-22-2022

                                                  Print to PDF for Filing       Reset Form        04/12/2020 SCC
USCA4 Appeal: 22-4072   Doc: 34        Filed: 11/22/2022   Pg: 50 of 51




                    IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT
                                No. 22-4072 (L)

        UNITED STATES OF AMERICA,                       :
                                               Appellee :
                                  v.                       :
        JORGE SANCHEZ-GARCIA,                              :      No. 22-4072(L)
        VINCENTE BANALES RODRIGUEZ,                        :     No. 22-4075
        NICOLAS MORALES-GUTIERREZ,                         :      No. 22-4077
        JESUS BENITEZ PINEDA,                              :      No. 22-4078
        HECTOR TAPIA HERNANDEZ-AVILA,                      :      No. 22-4100
        MARTIN MALACARA-GUERRERO,                          :      No. 22-4107
                                              Appellants :



             CERTIFICATE OF SERVICE OF APPELLANTS’ BRIEF

              I hereby certify that, on this date, I electronically filed the foregoing

        with the Clerk of Court using the CM/ECF System, which will send notice

        of such filing to the following registered CM/ECF user:

                                  Margaret M. Reece, AUSA

              I further certify that I served the following non-CM/EDF

        participants by United States Mail:

                                  Jorge Sanchez Garcia
                                  (Current Address Unknown)
USCA4 Appeal: 22-4072   Doc: 34       Filed: 11/22/2022   Pg: 51 of 51




                                  Vincente Banales Rodriguez, #30384-408
                                  FCI Edgefield
                                  P. O. Box 725
                                  Edgefield, SC 29824


                                  Nicolas Morales-Gutierrez, #1646671
                                  Albemarle Correctional Institution
                                  P. O. Box 460
                                  Badin, NC 28009


                                  Jesus Benitez Pineda, #43247-279
                                  (Current Address Unknown)

                                  Hector Tapia Hernandez-Avila
                                  (Current Address Unknown)

                                  Martin Malacara-Guerrero, #1680379
                                  Albemarle Correctional Institution
                                  P. O. Box 460
                                  Badin, NC 28009


              Respectfully submitted, this the 22nd day of November 2022.

                                     LOUIS C. ALLEN
                                     Federal Public Defender

                                     /s/ Eric D. Placke
                                     ERIC D. PLACKE
                                     First Assistant Federal Public Defender
